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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                               SOUTHWESTERN DIVISION

United States of America,                    )
                                             )
               Plaintiff,                    )       INTERSTATE AGREEMENT ON
                                             )       DETAINERS ORDER
       vs.                                   )
                                             )       Case No. 1:06-cr-066-3
Lawrence Wayne Wallace,                      )
                                             )
               Defendant.                    )


       On September 18, 2006, Defendant Lawrence Wayne Wallance made his initial appearance

on an indictment and entered a plea of not guilty the charge set forth therein. Appearing on behalf

of the United States was Attorney Paul Emerson. Appearing for Defendant Wallace was his court-

appointed counsel, attorney Jim Wolff.

       Prior to his initial appearance, Defendant Wallace was incarcerated in the Ward County

Detention Center, where he was both serving a state sentence and awaiting trial on additional state

courts. Pursuant to the Interstate Agreement on Detainers Act (“IADA”), Defendant Wallace’s

appearance before this court was secured by a writ of habeas corpus ad prosequendum.

       Following his arraignment, Defendant Wallace was advised of his right under the IADA to

continued federal custody until the charges set forth in the indictment are adjudicated. Defendant

Wallace knowingly, voluntarily, and upon advice of counsel waived the anti-shuttling provisions

of the IADA and stipulated to his continued housing by the State of North Dakota (the “sending

state” under the IADA) at the Ward County Detention Center pending trial of the charges on set

forth the indictment by the United States (the “receiving state” under the IADA). The United States

concurred in this stipulation.

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       Based on the foregoing stipulation of Defendant Wallace and the United States and

Defendant Wallace’s waiver of the anti-shuttling provisions of the IADA, IT IS HEREBY

ORDERED that Defendant Wallace be housed in the “sending state” under the IADA, at the Ward

County Detention Center pending trial of this matter or until further order of the court. Further,

pursuant to Defendant Wallace’s waiver and stipulation, the return of Defendant Wallace to his

place of incarceration pending trial shall not be grounds under the IADA for dismissal of the charges

set forth in the indictment.

       Dated this 18th day of September, 2006.



                                                      /s/ Charles S. Miller, Jr.
                                                      Charles S. Miller, Jr.
                                                      United States Magistrate Judge




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